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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA


G.T., by his Parents Michelle and Jamie T.,
on behalf of himself and all similarly situated individuals,
and The Arc of West Virginia,

                       Plaintiffs,

v.                                                                              2:20-cv-00057
                                                                 Civ. Act. No. ____________

KANAWHA COUNTY SCHOOLS, and
RON DUERRING, Superintendent,
Kanawha County Schools, in his official capacity,

                       Defendants.

_________________________________________/

                                CLASS ACTION COMPLAINT

                                        INTRODUCTION

        1.   Defendant Kanawha County Schools (“KCS”) unlawfully fails to provide effective

behavior supports for a class of its students with disabilities, leading to unjustified disciplinary

removals from the classroom due to the students’ behaviors. KCS punishes students for their

behaviors and removes them from the classroom instead of developing and implementing effective

behavior supports—required by law—that would allow these students to succeed in general

education settings alongside their peers without disabilities.

        2. Plaintiff G.T. is a third-grade KCS student diagnosed with autism and attention deficit

hyperactivity disorder (“ADHD”).        G.T. has significant strengths and could be educated

successfully in a general education classroom, with effective behavior supports. However, he has

been denied effective behavior supports at his KCS public school and, as a result, has experienced

disciplinary removals from school. Because of KCS’s failures to provide G.T. with effective
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behavior supports, and subsequent removals of G.T. from the classroom, he is not making

appropriate progress.

       3. Plaintiff G.T.’s situation is representative of many students with behavior support

needs within KCS. KCS fails to provide students with disabilities the instruction and services,

including behavior supports, they need to succeed in school. As a result, these students drop out

at a high rate and experience repeated yet avoidable disciplinary sanctions, including in-school

and out-of-school suspensions, undocumented “send homes,” placement in alternative schools,

expulsions, and referrals to law enforcement. Many students with behavior support needs are

pushed into segregated classrooms where they interact only with other students with disabilities,

and where there is inadequate (and sometimes no) instruction and inappropriate and ineffective

efforts at behavior management.

       4. Plaintiffs G.T., on behalf of himself and others similarly situated, and The Arc of West

Virginia bring this class action complaint for declaratory, injunctive, and compensatory relief to

challenge KCS’s systemic policies, practices, and procedures that violate federal and state law.

       5. KCS’s actions violate the Individuals with Disabilities Education Act (“IDEA”), 20

U.S.C. § 1400, et seq., Section 504 of the Rehabilitation Act (“Section 504”), 29 U.S.C. § 794(a),

Title II of the Americans with Disabilities Act (“ADA”), 42 U.S.C. § 12131 et seq., the West

Virginia Human Rights Act (“HRA”), W. Va. Code § 5-11-9 et seq., and West Virginia Policy

2419 (“WV Policy 2419”).

       6. The IDEA requires public schools to provide all eligible children with disabilities a free

appropriate public education (“FAPE”). 20 U.S.C. § 1412(a)(1). To meet their FAPE obligation,

schools must provide “special education and related services.” 42 U.S.C. § 1401(9). The standard

for providing a FAPE is a “demanding” one: students with disabilities must receive “appropriately


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ambitious” special education that gives them “the chance to meet challenging objectives.” Endrew

F. v. Douglas Cty. Sch. Dist. RE-1, 137 S. Ct. 988, 1000 (2017). This standard must be met by

public schools in West Virginia, including schools within KCS. See R.F v. Cecil Cty. Pub. Sch.,

919 F.3d 237 (4th Cir. 2019). See also W. Va. § 18-20-1; WV Policy 2419.

       7. Section 504 and Title II of the ADA prohibit public entities, including public schools,

from discriminating against students on the basis of their disabilities. 29 U.S.C. § 794; 42 U.S.C.

§ 12132 et seq. They require public schools to modify their policies, practices, and procedures as

needed to avoid discrimination, and to provide students with disabilities equal educational

opportunities. Id.

       8. Under federal law, for students whose behavior impedes learning, public education

must include effective behavior supports. 20 U.S.C. § 1400(c)(5). These supports may include,

but are not limited to, Functional Behavior Assessments (“FBAs”) of the student’s behaviors,

Behavior Intervention Plans (“BIPs”) identifying interventions addressing those behaviors, and

other positive behavior interventions and supports. With such supports, G.T. and the Plaintiff class

can learn, make progress, and realize bright futures in general education classrooms in KCS

alongside their peers without disabilities. Without them, they are at high risk of doing poorly in

school, becoming involved in the delinquency or criminal systems, and being unable to obtain a

job or live independently as they transition to adulthood.

       9. KCS has no functioning system for identifying children with disabilities who need

behavior supports and providing effective supports to them. Instead, all too often it subjects them

to formal (i.e. suspensions or expulsions) or informal (i.e. requests to parents to take or keep

students home) removals from school and school activities for behaviors related to their




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disabilities. Had the students been provided the effective behavior supports to which they are

entitled, it is likely that many of these disciplinary removals would not have been necessary.

          10. Over the past several months, Plaintiff G.T. repeatedly raised concerns with KCS

regarding its failure to provide effective behavior supports to students with disabilities who need

them to receive a FAPE and avoid discrimination.            These concerns were raised through

correspondence with KCS as well as through a formal due process complaint filed with the West

Virginia Department of Education. However, KCS has not acted to remedy the systemic and

urgent failures that Plaintiffs have identified, leaving Plaintiffs with no recourse other than this

action.

          11. Plaintiffs seek injunctive and declaratory relief for ongoing violations of the IDEA,

Section 504, the ADA, and West Virginia law, including an order that Defendants provide Plaintiff

G.T. and the Plaintiff class with the effective behavior supports they need to receive a FAPE and

avoid discrimination, and enable them to be educated in general education classrooms with their

peers.

                                             PARTIES

A.       Plaintiffs

          12. Plaintiff G.T., a minor, seeks to proceed using a pseudonym. G.T. brings this action

by and through his parents, Michelle and Jamie T., as permitted by Federal Rule of Civil Procedure

17(c).

          13. Plaintiff G.T. is a nine-year-old student with autism and ADHD attending third grade

at Bridgeview Elementary School in KCS. He is a student with a disability who is eligible for

special education under the IDEA and West Virginia law. He is also a qualified individual with a

disability under Section 504 and the ADA. As a child with an impairment that substantially limits


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his ability to learn, G.T. is also an individual with a disability within the meaning of the West

Virginia Human Rights Act, W.Va. Code § 5-11-1 et seq. Further, G.T. has exhausted all

administrative remedies available to him.

       14. Plaintiff The Arc of West Virginia (“The Arc WV”) is a not-for-profit membership

organization whose primary office is located in Parkersburg, West Virginia. The Arc WV is

dedicated to promoting and protecting the rights of people with intellectual and developmental

disabilities (“I/DD”), including autism, throughout the state. The Arc WV engages in public policy

advocacy and develops programs to support people with I/DD to learn, live, and work in their

communities. Supporting the rights of students with disabilities to receive the supports and

services they need to make progress in their neighborhood schools alongside their peers without

disabilities has been a priority of The Arc WV throughout its history. As The Arc WV’s position

statement on education states: “All children and youth with…I/DD must receive a free appropriate

public education that includes fair evaluation, ambitious goals, challenging objectives, the right to

progress, individualized supports and services, high quality instruction, and access to the general

education curriculum in age-appropriate inclusive settings.”1

       15. The Arc WV serves people with I/DD statewide directly and through four affiliated

member chapters throughout the state, including The Arc of the Three Rivers based in Kanawha

County. The Arc WV has over 2,400 members throughout the state, including over 200 in

Kanawha County. In 2019, The Arc WV provided assistance to 130 families state-wide who

sought advice and advocacy regarding special education services. Thirteen of these families reside

in Kanawha County with children attending KCS schools. The Arc of the Three Rivers serves 180




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  Position Statement: Education, The Arc (2018), https://thearc.org/position-
statements/education/.
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individuals annually, including more than twenty students who are eligible to attend KCS,

seventeen of whom actually attend KCS. Plaintiff G.T. is a constituent and his mother is a member

of both The Arc WV and The Arc of the Three Rivers.

B.    Defendants

        16. Defendant KCS is the Local Education Agency (“LEA”) for Plaintiff G.T. and is

responsible for providing a FAPE to him and to the Plaintiff class. “The LEA . . . is responsible

for the direct provision of services under IDEA, including the development of an individualized

education program (“IEP”) for each disabled student, the expenditure of IDEA funds to establish

programs in compliance with IDEA, and the maintenance of records and the supply of information

to the SEA [State Educational Agency] as needed to enable the SEA to function effectively in its

supervisory role under IDEA.” Gadsby by Gadsby v. Grasmick, 109 F.3d 940, 943 (4th Cir. 1997).

KCS receives federal financial assistance and is a public entity as defined by Title II of the ADA.

        17. Defendant Ron Duerring is the Superintendent of KCS and is responsible for the daily

operations of KCS, including its programs and services for students with disabilities. See W.Va.

Code § 18-4-10. Defendant Duerring is sued solely in his official capacity for prospective,

injunctive relief.

                                 JURISDICTION AND VENUE

        18. This Court has original jurisdiction over Plaintiffs’ federal claims pursuant to 28 U.S.C.

§ 1331 because those claims arise under federal law, specifically the IDEA, Section 504, and the

ADA. Declaratory and injunctive relief are available pursuant to 28 U.S.C. §§ 2201-02. This

Court has supplemental jurisdiction over Plaintiffs’ state law claims, because Plaintiffs’ claims

arise out of the same case or controversy as Plaintiffs’ federal claims. See 28 U.S.C. § 1367.




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        19. Venue is proper pursuant to 28 U.S.C. § 1391(b) because a substantial part of the events

or omissions giving rise to the claims herein occurred in this district and because all Defendants

maintain offices in this district and are responsible for enforcing the laws relevant to this litigation

in this district.

                         EXHAUSTION OF ADMINISTRATIVE REMEDIES

        20. Plaintiff G.T. filed a Complaint and Request for Due Process Hearing with the West

Virginia Department of Education’s Office of Federal Programs (“WV OFP”) on behalf of himself

and a class of similarly situated students on June 5, 2019 seeking injunctive, declaratory, and

compensatory relief.

        21. In his due process complaint, G.T. alleged that KCS failed to provide him and class

members with a FAPE, by failing to provide necessary behavior supports, as required by federal

and state law, 20 U.S.C. § 1412(a), West Virginia Code § 18-20-1, and WV Policy 2419. The

complaint also alleged violations of the ADA, 42 U.S.C. § 12132 and Section 504, 29 U.S.C. §

794.

        22. A due process hearing was conducted on August 19, 20, and 21, 2019.

        23. The WV OFP Hearing Officer dismissed the class allegations as well as the ADA and

Section 504 claims from the complaint, finding that she lacked jurisdiction to consider such

allegations.

        24. The WV OFP Hearing Officer further denied all individual relief sought by G.T.

        25. Through this process, Plaintiff G.T. has exhausted the administrative remedies

provided by the IDEA, 20 U.S.C. § 1400 et seq. This Court therefore has express appellate

jurisdiction over the administrative ruling issued pursuant to the IDEA. Id. at § 1415(i)(2).




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       26. G.T., on his own behalf, appeals the decision of the WV OFP Hearing Officer as to the

denial of individual injunctive and compensatory relief.

                              CLASS ACTION ALLEGATIONS

       27. Plaintiff G.T., on behalf of himself and all other similarly situated individuals, brings

this action pursuant to Federal Rule of Civil Procedure 23(a) and 23(b)(2) on behalf of the

following class: All Kanawha County Schools students with disabilities who need behavior

supports and have experienced disciplinary removals from any classroom.

       28. The Plaintiff class is so numerous that joinder of all members is impracticable. During

the 2015-2016 school year, a total of 4,299 of the 27,044 children in KCS received special

education under the IDEA. An additional 1,216 of KCS children with disabilities received services

under Section 504 in this same year. Of the students who received special education, 2,086 have

disabilities such as emotional disturbance, autism, other forms of I/DD, or other health

impairments including ADHD. Of the more than 5,500 students with disabilities in KCS receiving

services under the IDEA and Section 504, many require behavior supports to make progress in

their education.2

       29. According to the West Virginia Department of Education, during the 2015-2016 school

year, KCS subjected students served under the IDEA to 1,486 out-of-school suspensions. That

same year, it subjected students served only under Section 504 to 411 out-of-school suspensions.

KCS has continued to suspend students with disabilities at a high rate. The most recent data

indicates that KCS’s use of disciplinary suspensions to punish students with disabilities has only




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  The 2015-2016 school year is the most recent school year for which the Civil Rights Data
Collection has published data; however, Plaintiffs believe that the 2015-2016 school year is
likely representative of the most recent school year.

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increased: during the 2018-2019 school year, KCS had a total of 4,312 students with an IEP and

subjected these students to at least 1,611 suspensions.3

        30. There are questions of law and fact common to the claims of all class members,

including (a) whether KCS’s failure to provide effective behavior supports and resulting

disciplinary removals of students with disabilities violates the IDEA and WV Policy 2419,4 and

(b) whether KCS’s failure to provide effective behavior supports and resulting disciplinary

removals of students with disabilities violates Section 504, Title II of the ADA, and the HRA.

        31. The claims of Plaintiff G.T. are typical of the claims of the class. Due to KCS’s

policies, practices, procedures, acts, and omissions in failing to provide effective behavior supports

to its students, both Plaintiff G.T. and the Plaintiff class are subjected to, or are at substantial risk

of being subjected to, formal or informal disciplinary removals from school.

        32. Plaintiff G.T. will fairly and adequately represent the interests of the class. Plaintiff

G.T. possesses a strong personal interest in the subject matter of this lawsuit. Plaintiff G.T. is

represented by experienced counsel with expertise in federal laws concerning disability rights and

special education, as well as expertise in federal class action litigation. Counsel has the legal

knowledge and resources to fairly and adequately represent the interests of all class members in

this action.




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  Plaintiffs requested this information via a Freedom of Information Act request to the West
Virginia Department of Education and KCS. Plaintiffs were informed by the West Virginia
Department of Education that pursuant to West Virginia data release/reporting procedures,
certain data were suppressed to protect student privacy. Plaintiffs did not receive a response
from KCS.
4
  WV Policy 2419 follows the requirements of the IDEA and apply to school age students whose
educational programs require special education and related services. Districts must adopt and
implement appropriate special education policies and procedures to receive federal funds under
the IDEA.
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       33. KCS’s policies, practices, procedures, acts, and omissions harm all class members in

the same manner. KCS’s systematic failure to provide effective behavior supports and its

subsequent disciplinary removals of students with disabilities from the classroom has deprived the

Plaintiff class of the educational services to which they are entitled by federal law, subjected them

to disability-based discrimination, and increased their risk of being subjected to such harms in the

future. Final injunctive and declaratory relief is thus appropriate for the Plaintiff class as a whole.

                                 STATUTORY BACKGROUND

A.   The Individuals with Disabilities Education Act (“IDEA”)

       34. In enacting the IDEA, Congress found that “[d]isability is a natural part of the human

experience and in no way diminishes the right of individuals to participate in or contribute to

society. Improving educational results for children with disabilities is an essential element of our

national policy of ensuring equality of opportunity, full participation, independent living, and

economic self-sufficiency for individuals with disabilities.” 20 U.S.C. § 1400(c)(1).

       35. Under the IDEA, public schools must provide “special education” and “related

services” to all children with disabilities aged three to twenty-one residing in the state. 42 U.S.C.

§ 1401(9). Special education and related services for each child are designed by a team, including

parents, teachers, and the student (if appropriate), and documented in a written IEP. 42 U.S.C. §

1414(d)(1)(A), (B).

       36. The IDEA further requires states to ensure that “[t]o the maximum extent appropriate,

children with disabilities . . . are educated with children who are not disabled, and special classes,

separate schooling, or other removal of children with disabilities from the regular educational

environment occurs only when the nature or severity of the disability of a child is such that

education in regular classes . . . cannot be achieved satisfactorily.” 20 U.S.C. § 1412(a)(5).


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        37. Together, these requirements are commonly referred to as the school’s duty to provide

students a FAPE in the least restrictive environment (“LRE”). As the local educational agency for

Kanawha County, KCS is responsible for ensuring that all eligible children with disabilities within

the county receive a FAPE in the LRE. 20 U.S.C. §§ 1412(a)(11)(A), (a)(1), (a)(5). KCS must

coordinate with other public agencies as needed to ensure that children with disabilities receive

the education to which they are entitled under the IDEA. See 20 U.S.C. § 1412(12).

        38. More specifically, KCS must provide a FAPE according to the “markedly more

demanding” standard clarified by the United States Supreme Court in Endrew F., which explicitly

demands that every child with a disability receive an “ambitious” education with the chance to

meet “challenging objectives.” 137 S. Ct. at 1000. For most children, this standard means

receiving instruction and services in the general education classroom with students without

disabilities. Id. at 995.

        39. Schools must provide positive behavior supports and other interventions, including

FBAs and BIPs, when needed to provide a FAPE to children with disabilities whose behavior

impedes their learning or that of other students. 20 U.S.C. § 1414(d)(3)(B)(i); 34 C.F.R. §§

300.324(a)(2)(i), (b)(2); 300.320(a)(4); WV Policy 2419. An FBA is a systematic assessment of

a child’s behavior used to identify antecedent conditions to and the purpose of behaviors of

concern. See WV Policy 2419, Glossary. Put simply, an FBA is a data collection process to

analyze why a child behaves in a particular manner so that school staff can develop supports that

address the behaviors. An FBA is “a sequential, multi-step team evaluation process that helps to

determine the purpose and effect of the problem behavior(s) so that IEP goals and objectives can

be identified and interventions and modifications can be developed and implemented, specifically

through a student’s Behavior Intervention Plan. An FBA requires that both school personnel and


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the parents evaluate the behaviors of concern within the broader perspective of the student’s home

and school environments.” WV Policy 2419, Glossary (emphasis added). A BIP is a data-driven

plan that describes the interventions school staff will use to support the student’s behavior, which

should address the root causes of the concerning behaviors analyzed in the FBA. See id. When a

series of disciplinary removals from the classroom constitute a change in a child’s placement, the

school must conduct an FBA and develop or modify a BIP to address the child’s behavior. 34

C.F.R. § 300.530(d)(1), (f)(1);5 see also WV Policy 2419, 126 CSR 16.

B. Section 504 of the Rehabilitation Act and Title II of the Americans with Disabilities Act

        40. Section 504 of the Rehabilitation Act, 29 U.S.C. § 794, prohibits discrimination on the

basis of disability by recipients of federal financial assistance.

        41. Section 504 also requires covered entities to provide children with disabilities a FAPE.

FAPE under Section 504 requires special education and related services designed to meet the needs

of children with disabilities as adequately as the needs of children who do not have disabilities.

See 34 C.F.R. § 104.33(a), (b)(1). This requirement is similar to the IDEA requirement to provide

a FAPE, but, “unlike FAPE under the IDEA, FAPE under [Section] 504 is defined to require a

comparison between the manner in which the needs of disabled and non-disabled children are met,

and focuses on the ‘design’ of a child’s educational program.” Mark H. v. Lemahieu, 513 F.3d




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  A pattern of repeated incidents of child misbehavior and classroom disruption, as well as
violations of a code of student conduct resulting in disciplinary removals from school, may
indicate that a child should receive behavior supports. See U.S. Dep’t of Education, Office of
Special Educ. & Rehab. Servs., Dear Colleague Letter on Positive Behavioral Interventions and
Supports in Individualized Education Programs (IEPs) 4 (Aug. 1, 2016). If the child already has
behavior supports, on repeated incidents of misbehavior the school must consider whether the
child’s behavior supports should be changed. Id.


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922, 933 (9th Cir. 2008). Nonetheless, implementation of an IEP developed in accordance with

the IDEA is one means of meeting Section 504’s requirement. See 34 C.F.R. § 104.33(b)(2).

       42. Title II of the ADA prohibits discrimination on the basis of disability by state and local

government agencies, including public school districts. 42 U.S.C. § 12132; see 28 C.F.R. § 35.130.

       43. Under Title II of the ADA, public schools must provide students with disabilities with

opportunities to participate in school services, programs, and activities that are equal to those

provided to students without disabilities. 28 C.F.R. § 35.130(b)(1)(ii), (iii).

       44. Both the ADA and Section 504 prohibit states and local governments, including public

school districts, from discriminating when providing educational services, programs, and activities

to children with disabilities. See 28 C.F.R. § 35.130(b)(1); 34 C.F.R. § 104.4(b)(1). Further,

public schools may not provide educational services or administer their educational programs in a

way that results in, aids, or perpetuates discrimination against children with disabilities. See 28

C.F.R. § 35.130(b)(1)(v), (b)(3); 34 C.F.R. § 104.4(b)(1)(v), (b)(4).

       45. Both Section 504 and Title II of the ADA require public school districts to provide aids,

benefits, and services to students with disabilities in the most integrated setting appropriate to the

student’s needs, which is defined as a setting that enables individuals with disabilities to interact

with persons without disabilities to the fullest extent possible. 34 C.F.R. § 104.4(b)(2); 28 C.F.R.

§ 35.130(d); 28 C.F.R. pt. 35, App. A, p. 450.

       46. The Supreme Court has held that Title II of the ADA prohibits the needless isolation

or segregation of persons with disabilities. Olmstead v. L.C., 527 U.S. 581, 600 (1999) (holding

that “unjustified institutional isolation of persons with disabilities is a form of discrimination”).

As the Supreme Court found, separating individuals with disabilities from their peers without

disabilities “perpetuates unwarranted assumptions that persons so isolated are incapable or


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unworthy of participating in community life,” and “severely diminishes life activities of

individuals, including family relations, social contacts, work options, economic independence,

educational advancement, and cultural enrichment.” Id. at 600-601. Unjustifiable disciplinary

removals of students with disabilities from classrooms where they are educated alongside peers

without disabilities violates this prohibition on unnecessary segregation.

                                    STATEMENT OF FACTS

A. KCS Fails to Provide its Students with Disabilities with Effective Behavior Supports,

        Including FBAs and BIPs

        47. KCS frequently removes students with disabilities who need behavior supports from

the classroom for disciplinary reasons based on their behaviors. Such removals manifest in a

variety of ways. Informal removals sometimes occur when KCS sends a student home from early

school by calling a student’s parents and asking them to pick up the student from school before

the end of the school day or to keep the student at home. KCS does not record these informal

removals as disciplinary incidents in the West Virginia Education Information System (“WVEIS”)

and therefore they are not included in the data that KCS is required to maintain. The school may

also formally suspend or expel the student for disciplinary reasons. KCS also regularly removes

students with disabilities who require behavior supports from their mainstream, general education

classrooms and instead places them in behavior disorder classrooms for only students with

disabilities, often after imposing informal or formal disciplinary removals from school.

        48. These disciplinary removals often occur because KCS is failing to provide its students

with effective behavior supports and interventions, including FBAs, BIPs, and other positive

behavior supports such as behavior coaching, case management and individual care coordination,

and self-regulation or social skills training.


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        49. The widespread nature of this problem is reflected across the KCS school district. As

indicated above, rates of disciplinary removals of students with disabilities is consistently high

across schools within KCS.

        50. Despite notice that it is unlawfully failing to provide its students with effective behavior

supports across the district, KCS has not changed its practices. Instead, it has continued to remove

students for their behaviors rather than developing and implementing effective behavior supports

that would allow these students to succeed in general education classrooms. Because of KCS’s

actions and inactions, students with disabilities are at substantial and imminent risk of removal

from schools throughout KCS.

        51. These unnecessary removals cause students with disabilities to fall behind their peers

without disabilities behaviorally and academically, and place them at greater risk of dropping out

of school, failing to graduate with a diploma, or becoming involved with law enforcement and the

courts. These effects can harm these students for years and derail their future opportunities both

at school and in adult life.

        52. As a result, KCS has deprived G.T. and the Plaintiff class of the education to which

they are entitled.

B. Plaintiff G.T.

        53. G.T. is a nine-year-old boy in the third grade who receives special education and related

services under the IDEA. He has been diagnosed with autism and ADHD. KCS has failed to

provide him with needed behavior supports. KCS has also subjected him to multiple out-of-school

suspensions and other disciplinary measures as a result of behaviors.

        54. G.T. has many strengths that should help him succeed in school. G.T. has a strong

reading ability, a deep appreciation for history, and an expansive vocabulary that is advanced for


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a child his age. Additionally, G.T. has a strong aptitude for and interest in mathematics. His math

skills are more advanced than the material and instruction he receives in his special education

classroom.

       55. In addition to academic strengths, G.T. has good social skills. G.T. follows directions

well and does what he is asked to do. G.T. also gets along well with his classmates and plays well

with his siblings.

       56. G.T. is a young child with autism, and he faces challenges as a result of his disability.

He becomes anxious when he is overwhelmed or placed in unfamiliar situations. At times, G.T.

becomes upset by external factors, which then leads to a physical outburst.

       57. G.T. requires specially designed instruction and related services to make progress in

the general education curriculum. G.T.’s disabilities cause him to engage in challenging behaviors

at times. It is because of G.T.’s challenging behaviors that he needs effective behavior supports

to be successful.

       58. When G.T. started first grade, G.T.’s parents informed KCS that G.T. had meltdowns,

extreme fear, and negative reactions to both flies and bees. G.T. displayed behaviors at school that

interfered with his education, but the causes were not always clear.

       59. Despite this recognition of his behavior challenges, KCS did not conduct an FBA, did

not create a BIP, and did not provide other behavior supports. Instead, KCS placed G.T. in a self-

contained intellectual disability classroom for over 90% of his day. KCS provided G.T. with an

IEP at the start of his first grade year that did not set ambitious goals for him, but merely

highlighted G.T.’s deficits and inability to complete work at grade level.

       60. G.T.’s mother expressed her concerns about G.T. being placed in a self-contained

classroom at his IEP meeting. G.T.’s special education teacher shared that, like G.T.’s parents,


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she also did not believe that the self-contained classroom was the appropriate placement for G.T.

Rather, she believed G.T. could excel in general education with supports. Nevertheless, KCS

placed G.T. in the self-contained classroom throughout his first grade year.

        61. KCS did not document G.T.’s progress during first grade, nor did it provide a rationale

for maintaining G.T. in a segregated placement in second grade.

        62. Nevertheless, at the start of second grade, G.T. remained in a segregated, self-contained

classroom for students with an intellectual disability.

        63. In September 2018, KCS moved G.T. into a general education classroom for

approximately three-quarters of each day. Although KCS increased G.T.’s time in the general

education setting, it did not provide G.T. with the behavior and academic supports necessary to

enable him to succeed in that setting. As a result, the academic material provided to G.T. was not

tailored to engage G.T. or address his learning needs, and he continued to have meltdowns in the

classroom.

        64. That fall, G.T.’s teachers sent him to the principal’s office numerous times for being

disruptive in the classroom.

        65. For example, G.T. received one-day out-of-school suspensions on both October 1 and

October 3, 2018. These suspensions resulted from G.T. becoming overwhelmed and having

physical outbursts. On October 1, G.T. was upset about losing a “Dojo point,”6 and on October 3,

he was frustrated because he was not allowed to shop at the book fair with other students. KCS

had not provided G.T. with any behavior supports or a BIP at the time of these incidents.




6
  G.T.’s teacher used the Dojo system to track students’ behavior in the classroom. Students
earned points for good behavior and lost points for negative behaviors. Students were told when
they lost Dojo points.
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        66. After these two suspensions, a school psychologist drafted what KCS referred to as a

BIP without first conducting an FBA or obtaining input from G.T.’s parents. As explained above,

a BIP should be written based on a student’s FBA, and the FBA should include information

provided by the student’s parents.

        67. Instead, KCS directed G.T.’s classroom teacher to take notes on G.T.’s behavior and

share them with the psychologist, who would then enter the information into her records. There

is no indication that any of this information was used to determine the purpose and effect of G.T.’s

behavior or develop any sort of behavior plan to help G.T. learn how to regulate his emotions and

behaviors when he becomes overwhelmed. It is unclear what the information recorded by G.T.’s

teacher was used for, if at all.

        68. On November 13, 2018, the school again suspended G.T. for one day. School staff

stated that G.T. “refused to do any work” but did not indicate any reason why he was unwilling to

work. Rather, his teacher sent him to the office twice because he was upset and agitated. Office

staff called G.T.’s father and asked him to pick up G.T. early from school.

        69. On November 15, 2018, KCS placed G.T. in an in-school suspension after he became

upset and acted out in physical education class. The incident summary drafted by KCS notes G.T.

“sobbing” or “crying” several times throughout. There is no indication that KCS took this

opportunity to try to understand what prompted G.T.’s behavior.

        70. On November 29, 2018, G.T. was suspended for three days following an incident after

he took candy from his teacher’s desk.

        71. Finally, after suspending G.T. five times that semester, KCS held an IEP meeting on

December 10, 2018. The only service added to G.T.’s IEP at that meeting was thirty minutes of

“autism services” per month. G.T.’s parents expressed concerns that setting aside only thirty


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minutes per month to meet with an “autism teacher” would not meaningfully benefit G.T.

However, no additional services or time were provided to support G.T. No behavior services or

supports were provided to G.T., and KCS did not seek G.T.’s parents’ consent to conduct an FBA

to determine the causes of G.T.’s challenging behaviors. In addition, KCS did not provide any

training to G.T.’s general education teacher on how to respond to her students with disabilities

whose behavior impede their learning. Nor was she provided training on implementing a BIP for

G.T. with fidelity.

       72. On December 11, 2018, G.T. became upset because he did not have money to spend at

a holiday event at Bridgeview called “Santa’s Workshop.” School staff called G.T.’s father who

brought money to the school. G.T. was in the office when his father arrived. G.T. was upset and

wanted to go home, but his father told him he needed to stay at school. When G.T.’s father got up

to leave, G.T. ran out of the building. After his father called to him and told him that he could not

run away, G.T. stopped, began to cry, and told his father that he was sorry.

       73. As a result of this incident, KCS suspended G.T. for ten days, stating that the

suspension was for “aggressive behaviors.”        According to KCS records, Bridgeview staff

considered expelling G.T. for this incident.

       74. As required by law, KCS held another IEP meeting with G.T.’s parents on December

17, 2018, and the team found that his behaviors were a manifestation of his disability. As required

by the IDEA, KCS initiated an FBA to determine the causes for G.T.’s behaviors.

       75. At that meeting, G.T.’s parents expressed their desire for G.T. to remain in general

education, as they believed he could do well in that setting with appropriate support. Instead,

despite having never attempted to implement appropriate supports in the general education

classroom, KCS placed G.T. in a self-contained behavior disorder classroom, over his parents’


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objection. KCS made this change in placement before it completed the FBA and before it created

a BIP.

         76. G.T.’s December 17, 2018 IEP removed him from the general education environment

for academics and placed him for the majority of the day in classrooms solely with other students

with disabilities. KCS offered no opportunities to integrate G.T. with his peers for certain subject

matters, part of the day, or for small lessons. Instead, his academic instruction in the self-contained

classroom is wholly segregated from his mainstream peers.

         77. Following G.T.’s December 17, 2018 IEP, school staff told G.T.’s parents it would

conduct an FBA and revisit his placement, but, to date, KCS has not revisited G.T.’s placement.

         78. KCS did not begin collecting data for an FBA until January of 2019.

         79. Now in third-grade, G.T. has remained in the behavior disorder classroom for the 2019-

2020 school year. During the due process hearing, KCS’s autism programming consultant Dr. Jim

Ball testified, “to successfully integrate Student back into a regular education classroom would

require determining the exact triggers that caused Student to be unsuccessful behaviorally in his

second grade regular education classroom.              Once those triggers are determined and

accommodated, Student should begin spending increasing amounts of time in the regular education

classroom.” J.T. & M.T., Due Process Decision ¶ 42. KCS has not followed its consultant’s advice

to determine the triggers causing G.T. to be unsuccessful in his second grade classroom. After

over a year in a self-contained classroom, KCS has made no attempts to reintegrate G.T. into his

general education classroom, even on a small scale.

         80. G.T. is not receiving effective behavior supports in his self-contained classroom. In

order to receive effective behavior supports, G.T. needs to be taught strategies, including

replacement behaviors for behaviors of concern, that would meet his needs and help him behave


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appropriately in a general education environment. Instead, he is flatly told to “control” his

behaviors. He receives no positive reinforcement when he behaves appropriately, but instead only

receives negative feedback when he does something wrong, which includes being yelled at and

forced to take personal time-outs in a small corner of the classroom. On a daily basis, he lacks

positive role models that could help demonstrate to him how to improve his behavior in the

classroom, as everyone in the behavior disorder classroom shares similar challenges.

       81. The goals set by KCS for G.T. are the same year after year. Academic and behavioral

goals in G.T.’s current IEPs are identical to those of his past IEPs. For example, one of G.T.’s

math goals in his 2018 IEP was copied verbatim from his 2017 IEP. The date was not even

updated, so that the September 5, 2018 IEP erroneously contained a math goal G.T. was to achieve

by August 2018. Copying goals from one year to the next indicates that G.T.’s IEPs are not

designed to produce progress. See Endrew F. v. Douglas Cty. Sch. Dist. RE-1, 137 S. Ct. 988,

1000 (2017).

       82. KCS conducted an FBA of G.T.’s behaviors in January 2019, but the assessment was

wholly inadequate. An adequate FBA requires that both school personnel and the student’s parents

evaluate the student’s behaviors of concern across environments, as defined in WV Policy 2419,

126 C.S.R. 16. KCS did not collect information from G.T.’s parents about his behavior at home.

Additionally, the FBA does not target G.T.’s most significant behaviors interfering with his

education, nor does it analyze them to provide hypotheses about why G.T. engages in the target

behaviors. As such, it does not provide a basis for developing effective behavior interventions to

address the target behaviors.

       83. The few recommendations contained in the FBA are not adequately specific to G.T.,

and / or are not being implemented in his classroom. For example, the FBA recommends that he


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use a visual schedule to help him prepare for transitions between activities; however, G.T.’s visual

schedule is often nowhere in sight.

        84. In addition, staff in the self-contained classroom do not effectively engage G.T. in

instruction, which contributes to his negative behavior. Students in G.T.’s classroom spend much

of the school day looking at iPads without direct instruction or other support from the teacher or

aides. The teacher occasionally calls G.T. and other students to her desk, but only to show them

their grades. G.T may review material he already knows, but he is not learning new curriculum

and is falling behind his same-grade peers. Additionally, students, including G.T., frequently lie

on the floor due to a lack of chairs in the classroom.

        85. Even during the few periods each week when G.T. has the opportunity to spend time

with his classmates without disabilities, he is often marginalized. During music class with peers

without disabilities, G.T. has been told to sit off to the side with a paraprofessional aide. G.T. is

not allowed, like the other music students, to participate in dance activities or drum circle, or be

with the rest of the class for other class-wide activities.

        86. G.T. has significant strengths and is capable of succeeding in general education settings

in his school, but KCS is not providing him with the effective behavior supports he needs to be

successful.

        87. Because of his strengths in math, history, vocabulary, and reading, as well as his

agreeable nature and willingness to interact with others, G.T. can succeed in general education.

Effective behavior supports for G.T. should be designed to help him succeed in a general education

classroom.

        88. Consistent with their legal obligations, schools across the country regularly support

students with much more significant needs than G.T.’s in general education classrooms every


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single day. Rather than using strategies that have been proven effective to help G.T. meet

challenging educational goals, KCS removes G.T. from his classroom and does not provide G.T.

with effective behavior supports he needs to help him achieve ambitious goals and challenging

objectives, as required by law. See Endrew F. v. Douglas Cty. Sch. Dist. RE-1, 137 S. Ct. 988,

1000 (2017). With effective supports, G.T. is capable of succeeding in a general education setting.

C. The Plaintiff Class

       89. G.T.’s experience at KCS is shared by other KCS students who need behavior supports

and experience disciplinary removals from any classroom. These students experience the same

injuries and require the same relief as G.T.

       90. KCS is required to incorporate and implement a preventive discipline program that

takes behavior into account for students with disabilities. W. Va. Code § 18A-5-1 (2019). To

comply with this directive, IEP teams must consider whether a student’s behavior impedes his or

her learning and, if it does, must consider the use of behavior supports and interventions to address

the behavior. 20 U.S.C. § 1414(d)(3)(B)(i); W. Va. Code § 18A-5-1. If a student with an IEP is

subject to disciplinary action, the IEP team must evaluate the supports in place for the student and

revise the plan as needed, including through the development or revision of FBAs and BIPs. See,

e.g., 20 U.S.C. § 1400 et seq.; W. Va. Code § 18A-5-1.

       91. Rather than adhere to its own policies and procedures, as well as federal and state law,

KCS does not appropriately address students’ behaviors that are caused by their disabilities and

instead removes them from the general education classroom.

       92. First, KCS fails to adequately analyze the root causes of students’ concerning

behaviors, and therefore fails to create effective IEPs or BIPs for them. Staff perform FBAs or

develop BIPs without consulting behavior analysts or others with expertise who could help them


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understand how to analyze student behavior. As a result, students are provided with ineffective

behavior supports that do not address the behaviors associated with the student’s disability.

       93. Even when students have BIPs that on paper contain appropriate behavior

interventions, KCS fails to ensure that such plans are effectively implemented. KCS fails to train

general education teachers to adequately respond to children with disabilities whose behaviors

impede their learning by implementing their BIPs with fidelity. KCS also fails to provide adequate

opportunities for its teachers to consult with behavior specialists or others with expertise about

how to implement BIPs, including when BIPs do not adequately prevent or ameliorate concerning

student behavior and must be revised.

       94. KCS routinely removes students with disabilities from the classroom for their

behaviors due to its failure to adequately evaluate students with disabilities, or effectively

implement behavior plans and other interventions. Such removal takes place in a variety of ways:

this includes undocumented “send homes” or “keep homes,” suspensions, and even expulsions.

As stated above, during the 2018-2019 school year, the West Virginia Department of Education

reported that KCS had a total of 4,312 students with an IEP. KCS removed these students with

IEPs from the classroom at least 1,611 times: including at least 193 one-day out-of-school

suspensions, 412 one-day in-school suspensions, 595 out-of-school suspensions lasting between

one and ten days, 248 in-school suspensions lasting between one and ten days, 93 out-of-school

suspensions lasting ten days, and 70 out-of-school suspensions lasting longer than ten days. The

total number of removals increased by at least 234 incidents from the number reported for the

2017-2018 school year.

       95. The IDEA requires states to collect and annually report data on its progress toward

meeting targets with regard to the provision of special education. 20 U.S.C.A. § 1453(d). KCS


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submits data to the West Virginia Department of Education annually and therefore knew or should

have known the rates at which it suspends and expels students with IEPs.

       96. Because KCS disciplines its students with disabilities instead of providing effective

behavior supports, these students are stigmatized and isolated, thereby leaving them vulnerable to

bullying or rejection by their peers. The emotional trauma associated with being unwelcome and

excluded from school compounds the difficulty children already face upon return or reintegration

into the general education classroom—if they are actually reintegrated. Further, they are more

likely to be placed in residential facilities or other forms of institutionalization, including the

delinquency system. Discipline for KCS students with disabilities is more likely to take the form

of a referral to law enforcement than for other students, and juvenile courts may use documented

suspensions against the student in truancy proceedings, which makes it more likely that they will

be taken out of their homes. See In re Brandi B., 231 W.Va. 71, 743 S.E.2d 882 (W. Va. 2013)

(holding that “adjudicating a juvenile a status offender on the basis of absences occasioned by

disciplinary suspension is rationally related to the Legislative purpose”).

       97. Defendants have had ample notice of their systemic failure to provide effective

behavior supports to students with disabilities who then experience disciplinary removals from the

classroom.   Local advocacy groups, including Plaintiffs’ counsel, have received numerous

complaints about KCS’s failures to provide behavior supports to its students with disabilities, and

have advocated on behalf of individual KCS students for years. Plaintiffs’ counsel also contacted

KCS officials directly in advance of filing this Complaint to raise again their systemic concerns.

Despite this notice, however, KCS has not changed its policies, practices, and procedures for

educating students with disabilities so that they comply with federal and state law.

                                     CAUSES OF ACTION


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                                              Count I

      Violations of Individuals with Disabilities Education Act, 20 U.S.C. § 1400 et seq.

        98. Plaintiffs reallege and incorporate by reference the foregoing paragraphs of this

Complaint as though fully set forth herein.

        99. G.T. and each member of the Plaintiff class is a child with a disability who is eligible

for special education and related services under the IDEA. See 20 U.S.C. §§ 1401, 1412. Plaintiff

The Arc WV’s members include the mother of, and other advocates for, G.T. and other members

of the Plaintiff class.

        100.    Defendant KCS, as the LEA, is responsible for the provision of FAPE in the LRE

to all eligible students. See 20 U.S.C. §§ 1401(32), 1412(a)(1), 1412(a)(5).

        101.    By the acts and omissions alleged herein, KCS has violated the rights of G.T. and

the Plaintiff class under the IDEA, 20 U.S.C. § 1400 et seq., and its implementing regulations by:

            a. failing to have in effect policies and procedures to ensure KCS provides a FAPE to

                all eligible children in the district, 20 U.S.C. § 1412(a)(1); 34 C.F.R. § 300.101,

                including those students with disabilities who need behavior supports to receive a

                FAPE;

            b. failing to effectively monitor implementation of and to enforce the IDEA’s

                requirements regarding the provision of FAPE in the LRE, 20 U.S.C. §

                1416(a)(1)(C), (a)(3); 34 C.F.R.§ 300.600.

                                              Count II

               Violations of Section 504 of the Rehabilitation Act, 29 U.S.C. § 794

        102.    Plaintiffs reallege and incorporate by reference the foregoing paragraphs of this

Complaint as though fully set forth herein.


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       103.    G.T. and each member of the Plaintiff class is an “otherwise qualified individual

with a disability” within the meaning of Section 504. 29 U.S.C. §§ 794, 705(20). Their disabilities

substantially limit one or more major life activities, including but not limited to learning, reading,

concentrating, thinking, and communicating. 42 U.S.C. § 12102(2)(A). As school-age children

who live in Kanawha County, G.T. and each member of the Plaintiff class is qualified to participate

in KCS’s educational programs and services. 34 C.F.R. § 104.3(l)(2).

       104.    Defendant KCS is a recipient of federal financial assistance subject to Section 504.

29 U.S.C. § 794(b)(2)(B).

       105.    By the acts and omissions alleged herein, KCS has discriminated against G.T. and

the Plaintiff class in violation of Section 504 of the Rehabilitation Act, 29 U.S.C. §794, and its

implementing regulations by, solely on the basis of disability:

           a. excluding G.T. and the Plaintiff class from participation in, and denying them the

               benefits of, placement in the LRE, and otherwise discriminating against them, 34

               C.F.R. § 104.4(a);

           b. failing to provide them with a FAPE, including special education and related aids

               and services that are designed to meet their needs as adequately as the needs of

               children without disabilities are met and that adhere to the procedural safeguards

               set forth in Section 504, § 104.33;

           c. denying them an educational opportunity that is equal to the opportunity afforded

               other children, § 104.4(b)(1)(ii);

           d. denying them educational services that are as effective as the services provided to

               other children, § 104.4(b)(1)(iii);




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           e. unnecessarily providing them different or separate educational services, § 104.4

               (b)(1)(iv);

           f. aiding or perpetuating discrimination against them by providing significant

               assistance to schools that discriminate against these children on the basis of

               disability, § 104.4(b)(1)(v);

           g. utilizing methods of administration that have the effect of subjecting them to

               discrimination on the basis of disability, have the effect of substantially impairing

               accomplishment of its objectives for students with disabilities, and perpetuate the

               discrimination of local schools against these children, § 104.4(b)(4);

           h. failing to serve them alongside their peers without disabilities in academic and

               nonacademic settings to the maximum extent appropriate, § 104.34; and

           i. denying them an equal opportunity to participate in non-academic and

               extracurricular services and activities, § 104.37.

       106.    The relief sought by Plaintiffs and the Plaintiff class would not require a

fundamental alteration to KCS’s programs, services, or activities.

                                                Count III

         Violations of the Americans with Disabilities Act, 42 U.S.C § 12131 et seq.

       107.    Plaintiffs reallege and incorporate by reference the foregoing paragraphs of this

Complaint as though fully set forth herein.

       108.    G.T. and each member of the Plaintiff class is an “individual with a disability”

within the meaning of the ADA. Their disabilities substantially limit one or more major life

activities, including but not limited to, learning, reading, concentrating, thinking, and

communicating. 42 U.S.C. § 12102.


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       109.    As school-age children who live in Kanawha County, G.T. and each member of the

Plaintiff class is qualified to participate in KCS’s educational programs and services. See 42

U.S.C. § 12131(2).

       110.    Defendant KCS is a public entity subject to Title II of the ADA.

       111.    By the acts and omissions alleged herein, KCS has discriminated against G.T. and

the Plaintiff class in violation of Title II of the ADA, 42 U.S.C. § 12131 et seq., and its

implementing regulations by, on the basis of disability:

           a. excluding G.T. and the Plaintiff class from participation in, and denying them the

               benefits of, a full school day, and otherwise discriminating against them, 28 C.F.R.

               § 35.130(a);

           b. denying them an educational opportunity that is equal to the opportunity afforded

               other children, § 35.130(b)(1)(ii);

           c. denying them educational services that are as effective as the services provided to

               other children, § 35.130(b)(1)(iii);

           d. unnecessarily providing them different or separate educational services, §

               35.130(b)(1)(iv);

           e. aiding or perpetuating discrimination against them by providing significant

               assistance to local school districts that discriminate against these children on the

               basis of disability, § 35.130(b)(1)(v);

           f. utilizing methods of administration that have the effect of subjecting them to

               discrimination on the basis of disability, have the effect of substantially impairing

               accomplishment of its objectives for students with disabilities, and perpetuate the

               discrimination of local school districts against these children, § 35.130(b)(3);


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           g. failing to reasonably modify their policies, practices, or procedures as needed to

               avoid discrimination on the basis of disability, § 35.130(b)(7); and

           h. failing to provide them educational services, programs, and activities in the most

               integrated setting appropriate to their needs, § 35.130(d).

           i. failing to ensure that its schools do not unnecessarily segregate children with

               disabilities from their typical peers. See Olmstead v. L.C., 527 U.S. 581 (1999).

       112.    The relief sought by Plaintiffs and the Plaintiff class would not require a

fundamental alteration to KCS’s programs, services, or activities.

                                            Count IV

         Violations of the West Virginia Human Rights Act, W. Va. § 5-11-1 et seq.

       113.    The West Virginia Human Rights Act, W.Va. Code § 5-11-1 et seq. prohibits

discrimination in public accommodations against individuals with disabilities.

       114.    KCS is a public accommodation under the HRA.

       115.    G.T. is an individual with a disability within the meaning of the HRA, because his

learning is substantially impacted by his mental impairment.

       116.    KCS has discriminated against G.T. by denying him an appropriate education, by

segregating him from other children of his age, and denying him the accommodations necessary

for him to remain in a general education classroom.

                                     REQUEST FOR RELIEF

       Plaintiff G.T., on behalf of himself and all other persons similarly situated, and The Arc

WV request this Court grant the following relief:

   A. Certification of this action, as a class action, pursuant to Rule 23(b)(2) of the Federal Rules

of Civil Procedure, consisting of:


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        All Kanawha County Schools students with disabilities who (1) need but are not receiving

        behavior supports from KCS, and (2) have experienced disciplinary removals from any

        classroom.

    B. A declaratory judgment that KCS has violated the IDEA, Section 504, the ADA, and West

Virginia law by failing to provide effective behavior supports to eligible Kanawha County school

children and instead subjecting them to unjustified disciplinary removals from school.

    C. A preliminary and permanent injunction ordering KCS to revise its policies, practices, and

procedures as necessary to provide effective behavior supports to its students with disabilities, and

take other appropriate affirmative actions to ensure that violations of law complained of above do

not continue to be engaged in by KCS, their agents, successors, employees, attorneys, and those

acting at their direction.

    D. An order appointing an independent monitor or ombudsman whose duties shall include,

but not be limited to:

                1. Periodic, in-person monitoring of KCS’s implementation of and compliance

                     with the Court’s Order;

                2. Proposing remedies necessary to bring about full compliance with the Court’s

                     order; and

                3. Regular reports to the Court and Plaintiff’s counsel regarding the same.

    E. An award of reasonable attorney’s fees and costs; and

    F. Such other relief as may be deemed proper by the Court.




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                                  Respectfully submitted,



                                  T-ZEJB$.JMOFT
                                  ________________________________
                                  Lydia C. Milnes (WV Bar ID No. 10598)
                                  Blaire L. Malkin (WV Bar ID No. 10671)
                                  Mountain State Justice, Inc.
                                  1217 Quarrier St.
                                  Charleston, WV 25301


                                  Erin Snyder (WV Bar ID No. 12596)
                                  Lori Waller (WV Bar ID No. 11303)
                                  Disability Rights West Virginia
                                  1207 Quarrier Street, Ste 400
                                  Charleston, WV 25301-1845


                                  Michael Faris (IL Bar ID No. 6204179)*
                                  Karen Klass (IL Bar ID No. 6327168)*
                                  Latham & Watkins LLP
                                  330 N. Wabash Ave., Suite 2800
                                  Chicago, IL 60611


                                  Ira A. Burnim (DC Bar No. 406154)*
                                  Lewis Bossing (DC Bar No. 984609)*
                                  Judge David L. Bazelon Center for Mental Health
                                  Law
                                  1101 15th Street NW, Suite 1212
                                  Washington, DC 20005


                                  Shira Wakschlag (DC Bar No. 1025737)*
                                  The Arc of the United States
                                  1825 K Street NW, Suite 1200
                                  Washington, DC 20006

                                  Attorneys for Petitioner

                                  *Statement of Visiting Attorney Forthcoming




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